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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    MADHU SAMEER,                                      No. 1:17-cv-01748-DAD-EPG
12                       Plaintiff,
13            v.                                         ORDER GRANTING IN PART PLAINTIFF’S
                                                         MOTION FOR AN EXTENSION OF TIME
14    SAMEER KHERA, et al.,
                                                         (Doc. No. 147)
15                       Defendants.
16

17           On September 15, 2018, plaintiff Madhu Sameer, proceeding pro se, filed a request for an

18   extension of time in which to file oppositions to motions to dismiss brought by various

19   defendants named in this action and a continuance of the hearing date for those motions. (Doc.

20   No. 147.) Plaintiff requested a 60-day extension of the time in which to file oppositions, and in

21   the alternative requested a 30-day extension of time. (Id. at 2.)

22           This is plaintiff’s second request for an extension of time in which to file opposition briefs

23   to the pending motions. (See Doc. No. 120.) Plaintiff states that the requested extension of time

24   is warranted because of her “pro per status, lack of access to law libraries, [and] residence in NZ.”

25   (Doc. No. 147 at 2.) Although plaintiff is entitled to some leeway because of her pro se status,

26   plaintiff is expected to diligently litigate this action in accordance with the Federal Rules of Civil

27   Procedure and the Local Rules, as well as the scheduling procedures of this court.

28   /////
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     Case 1:17-cv-01748-DAD-EPG Document 149 Filed 09/17/18 Page 2 of 2

 1          Nonetheless, because the court has recently required plaintiff to refile several of her

 2   oppositions to conform with the court’s standing order (Doc. Nos. 142, 143, 145), the court will

 3   grant plaintiff a 30-day continuance. The hearing on the pending motions to dismiss and motion

 4   to stay will be continued to November 6, 2018 at 9:30 a.m. Deadlines for the filing of any

 5   oppositions or replies, as set out in Local Rule 230, shall apply to the continued hearing date.

 6   Plaintiff is advised that no further extensions of time will be granted for purposes of filing

 7   oppositions to those pending motions.

 8   IT IS SO ORDERED.
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        Dated:     September 16, 2018
10                                                      UNITED STATES DISTRICT JUDGE

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